Case 1:23-cr-20464-BB Document 6 Entered on FLSD Docket 12/05/2023 Page 1 of 35




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Case 1:23-cr-20464-BB Document 6 Entered on FLSD Docket 12/05/2023 Page 2 of 35
Case 1:23-cr-20464-BB Document 6 Entered on FLSD Docket 12/05/2023 Page 3 of 35
Case 1:23-cr-20464-BB Document 6 Entered on FLSD Docket 12/05/2023 Page 4 of 35
Case 1:23-cr-20464-BB Document 6 Entered on FLSD Docket 12/05/2023 Page 5 of 35
Case 1:23-cr-20464-BB Document 6 Entered on FLSD Docket 12/05/2023 Page 6 of 35
Case 1:23-cr-20464-BB Document 6 Entered on FLSD Docket 12/05/2023 Page 7 of 35
Case 1:23-cr-20464-BB Document 6 Entered on FLSD Docket 12/05/2023 Page 8 of 35
Case 1:23-cr-20464-BB Document 6 Entered on FLSD Docket 12/05/2023 Page 9 of 35
Case 1:23-cr-20464-BB Document 6 Entered on FLSD Docket 12/05/2023 Page 10 of 35
Case 1:23-cr-20464-BB Document 6 Entered on FLSD Docket 12/05/2023 Page 11 of 35
Case 1:23-cr-20464-BB Document 6 Entered on FLSD Docket 12/05/2023 Page 12 of 35
Case 1:23-cr-20464-BB Document 6 Entered on FLSD Docket 12/05/2023 Page 13 of 35
Case 1:23-cr-20464-BB Document 6 Entered on FLSD Docket 12/05/2023 Page 14 of 35
Case 1:23-cr-20464-BB Document 6 Entered on FLSD Docket 12/05/2023 Page 15 of 35
Case 1:23-cr-20464-BB Document 6 Entered on FLSD Docket 12/05/2023 Page 16 of 35
Case 1:23-cr-20464-BB Document 6 Entered on FLSD Docket 12/05/2023 Page 17 of 35
Case 1:23-cr-20464-BB Document 6 Entered on FLSD Docket 12/05/2023 Page 18 of 35
Case 1:23-cr-20464-BB Document 6 Entered on FLSD Docket 12/05/2023 Page 19 of 35
Case 1:23-cr-20464-BB Document 6 Entered on FLSD Docket 12/05/2023 Page 20 of 35
Case 1:23-cr-20464-BB Document 6 Entered on FLSD Docket 12/05/2023 Page 21 of 35
Case 1:23-cr-20464-BB Document 6 Entered on FLSD Docket 12/05/2023 Page 22 of 35
Case 1:23-cr-20464-BB Document 6 Entered on FLSD Docket 12/05/2023 Page 23 of 35
Case 1:23-cr-20464-BB Document 6 Entered on FLSD Docket 12/05/2023 Page 24 of 35
Case 1:23-cr-20464-BB Document 6 Entered on FLSD Docket 12/05/2023 Page 25 of 35
Case 1:23-cr-20464-BB Document 6 Entered on FLSD Docket 12/05/2023 Page 26 of 35
Case 1:23-cr-20464-BB Document 6 Entered on FLSD Docket 12/05/2023 Page 27 of 35
Case 1:23-cr-20464-BB Document 6 Entered on FLSD Docket 12/05/2023 Page 28 of 35
Case 1:23-cr-20464-BB Document 6 Entered on FLSD Docket 12/05/2023 Page 29 of 35
Case 1:23-cr-20464-BB Document 6 Entered on FLSD Docket 12/05/2023 Page 30 of 35
Case 1:23-cr-20464-BB Document 6 Entered on FLSD Docket 12/05/2023 Page 31 of 35
Case 1:23-cr-20464-BB Document 6 Entered on FLSD Docket 12/05/2023 Page 32 of 35
Case 1:23-cr-20464-BB Document 6 Entered on FLSD Docket 12/05/2023 Page 33 of 35
Case 1:23-cr-20464-BB Document 6 Entered on FLSD Docket 12/05/2023 Page 34 of 35
Case 1:23-cr-20464-BB Document 6 Entered on FLSD Docket 12/05/2023 Page 35 of 35
